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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


ANDREW HAHN and,
HEATHER HAHN                                            CIVIL ACTION 1:16-cv-06908

     Plaintiffs,
                                                        COMPLAINT
v.

ANSELMO LINDBERG OLIVER LLC and                         JURY TRIAL DEMANDED
WELLS FARGO BANK N.A.

     Defendants.

                                           COMPLAINT

         NOW COMES the Plaintiffs, ANDREW AND HEATHER HAHN ("Plaintiffs") by and

through their attorneys, SULAIMAN LAW GROUP, LTD., complaining of the Defendant,

Anselmo, Lindberg, Oliver LLC. ("Defendant Anselmo") and Defendant Wells Fargo Bank N.A.

("Defendant Wells Fargo") as follows:

                                      NATURE OF THE ACTION

     1. Plaintiffs bring this action seeking actual, statutory, punitive damages, attorney's fees,

and costs for Defendant's violations of the Fair Debt Collection Practices Act ("FDCPA")

pursuant to 15 U.S.C. §1692 and violations of the Illinois Consumer Fraud and Deceptive

Practices Act ("ICFA") pursuant to 815 ILCS 50511 et seq.

                                     JURISDICTION AND VENUE

     2. Subject matter jurisdiction is conferred upon this Court by 28 U.S.C. §§1331 and 1337,

as the action arises under the laws of the United States.

     3. The Court has supplemental jurisdiction over the state law ICFA claim under 28 U.S.C.


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§1367.

    4. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Plaintiffs resides in this

District and Defendant's conduct hanned Plaintiff in this District.

                                               PARTIES

    5. Plaintiffs are consumers and natural persons over 18 years o{age who at all times

relevant owned and resided at the property located at 305 North Street, Mazon, Illinois 60444

("subject property").

    6. Defendant Anselmo Lindberg Oliver, LLC is a law firm organized as an Illinois limited

liability company with principal offices at 1771 W. Diehl Road, Suite 120, Naperville, Illinois

60563. Its registered agent and offices is Thomas J. Anselmo, 1771 W. Diehl Road, Suite 120,

Naperville, Illinois 60563.

    7. Defendant Anselmo, uses the mails and telephone system in conducting its business as

described above.

    8. Defendant Anselmo, is a debt collector as defmed in the FDCPA.

    9. Defendant Anselmo, states on its web site that it "is a full-service law firm that provides

specialized legal expertise in areas of default, real estate, business and corporate services, estate

planning, and general civil litigation. Our attorneys' wide range of skill and knowledge enables

us to achieve the unique objectives of each individual client we serve through focused and

coordinated efforts. Comprising nearly 180 employees, including 20 staff attorneys, paralegals

and support staff, our team of professionals meticulously approaches each matter with agility,

efficiency, and expertise." http://alolawgroup.comlabout-us/.

    10. Defendant Anselmo states on its web site that their "litigation services cut across and

enhance all areas of practice, specifically, default and creditor's rights, real estate, estate

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planning, and business transactions. Amongst these areas our attorneys are experienced in

litigating and managed a wide-breath of related matters, which include: real estate disputes,

contests with and on behalf of estates, banking litigation, bankruptcy actions, and business

transaction controversies of all kinds." http://alolawgroup.comJpractice-areas/general-litigation/.

    11. Defendant Wells Fargo is a financial institution with its headquarters located in Sioux

Falls, South Dakota. It is a creditor, lender, debt collector, and servicer of mortgage loans across

the country, including in the State of Illinois. Wells Fargo Home Mortgage Inc. and Wells Fargo

dealer Services are divisions of Wells Fargo Bank, N.A.

    12. At all times relevant to this case Defendant Anselmo was acting as attorney and agent for

Defendant Wells Fargo.

                                          BANKRUPTCY CASE


    13. On January 3, 2002 Plaintiff Heather Hahn executed a mortgage in the amount of

$85,853.00 ("subject debt") in favor of North American Mortgage Company secured by the

subject property.

    14. On February 10,2012, Defendant Wells Fargo filed a Complaint for Foreclosure in the

Circuit Court of Grundy County Illinois against Plaintiffs regarding the subject property and the

subject debt.

    15. On September 2,2015, Plaintiff Heather Hahn quitclaimed her interest in the subject

property to herself and her husband Plaintiff Andrew Hahn.

    16. On September 9,2015, Plaintiff Andrew Hahn filed a Chapter 13 Bankruptcy in the

Northern District of Illinois. His Case Number is 15-30730.

    17. His Bankruptcy Petition was accompanied by a list of creditors. See Exhibit A, a true and

correct copy of the Petition and list of creditors filed in Plaintiff s bankruptcy case.

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    18. Both Defendants were listed as creditors.

    19. On September 9, 2015 Defendant Anselmo was notified of the filing of Plaintiff Andrew

Hahn's bankruptcy via completed facsimile transmission to Defendant Anselmo at 630-428-

4620. See Exhibit B, a true and correct copy of the Facsimile Transmittal cover sheet, Notice of

Bankruptcy Filing and confmnation of transmission.

   20. On September 12,2015, by virtue of listing Defendants Anselmo and Wells Fargo as

creditors, the Bankruptcy Noticing Center ("BNC") served Defendants Anselmo and Wells

Fargo with notice of Plaintiffs bankruptcy filing. See Exhibit C, a true and correct copy of the

BNC Certificate of Notice establishing service of the notice of filing on Defendants Anselmo and

Wells Fargo.

   21. On September 23,2015 Plaintiff Andrew Hahn filed a Chapter 13 Plan and bankruptcy

schedules. Defendant Wells Fargo was listed as a creditor in Schedule D of Plaintiff Andrew

Hahn's bankruptcy. His chapter 13 plan proposed to cure the mortgage arrears owed to Wells

Fargo throughout the plan pursuant to 11 U.S.C. 1322(a)(5). See Exhibit D, a true and correct

copy of the Schedule D. See Exhibit E a true and correct copy of the Chapter 13 Plan.

   22. On September 24,2015, by virtue of listing Defendants Anselmo and Wells Fargo as

creditors, the Bankruptcy Noticing Center ("BNC") served Defendants Anselmo and Wells

Fargo with a copy of Plaintiffs Chapter 13 Plan. See Exhibit E, a true and correct copy of the

Chapter 13 plan and the BNC Certificate of Notice establishing service of the notice of filing and

Original Plan on Defendants Anselmo and Wells Fargo.

   23. On February 5, 2016, the Chapter 13 Plan was confirmed by the Honorable Bruce W.

Black. See Exhibit F, a true and correct copy of the Confirmation Order.



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    24. Collection against Plaintiff Andrew Hahn and Plaintiff Heather Hahn was prohibited by

Sections 362(a) and 1301 of the Bankruptcy Code respectively.

    25. Despite multiple notices of Plaintiff Andrew Hahn's bankruptcy Defendants Anselmo and

Wells Fargo continued to proceed with the foreclosure lawsuit.

    26. On November 25,2015 an associate attorney at Defendant Anselmo, Ms. Mary Spitz,

appeared for Defendant Wells Fargo on a status hearing on the foreclosure lawsuit. The status

hearing was continued to February 10,2016. See Exhibit G, a true and correct copy of the

Grundy County Case History on the foreclosure lawsuit.

    27. On or about December 18,2015 Defendant Anselmo on behalf of Defendant Wells Fargo

filed an Affidavit as to Military Service in the foreclosure lawsuit. Id.

    28. On or about January 25,2016 Defendant Anselmo on behalf of Defendant Wells Fargo

filed a Motion for Summary Judgment in the foreclosure lawsuit. Id.

   29. On or about February 10,2016 an associate attorney of Defendant Anselmo, Ms. Berkely

Cobb, appeared for Defendant Wells Fargo and obtained and Order for Summary Judgment and

an order to appoint a selling officer on the subject real estate. Id

   30. Plaintiff Andrew Hahn is fully performing his duties as set forth in his confirmed Chapter

13 Plan.


                      COUNT I - DEFENDANT ANSELMO'S VIOLATIONS OF THE
                           FAIR DEBT COLLECTION PRACTICES ACT

   31. Plaintiff restates and real leges all paragraphs above as though fully set forth herein.

   32. The Plaintiffs are "consumers" as defined by FDCPA §1692a(3).




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    33. The subject debt qualifies as a "debt" as defined by FDCPA §1692a(S) as it arises out of

a transaction due or asserted to be owed or due to another for personal, family, or household

purposes.

    34. Defendant Anselmo qualifies as a "debt collector" as defined by § 1692a(6) because it

regularly collects debts and uses the mail and/pr the telephones to collect delinquent consumer

accounts.

    3S. Defendant Anselmo violated IS U.S.C. §§1692e(2), e(10), f, through its debt collection

efforts on a debt stayed from collection while in bankruptcy.

       a. Violations of FnCPA § 1692e

    36. Defendant Anselmo violated § 1692e(2) when it misrepresented the character, amount, or

legal status of the subject debt. The subject debt and the subject property was not legally

collectible in state court at the time Defendant Anselmo appeared multiple times in the

foreclosure lawsuit, filed motions and obtained orders regarding the subject property.

   37. Defendant Anselmo violated §1692e(lO) when it falsely represented that the subject debt

was collectible at the time of its actions before the state court as alleged above.

       b. Violations of FnCpA § 1692f

   38. Defendant Anselmo violated § 1692f by using unfair or unconscionable means to collect

or attempt to collect a debt by continuing to prosecute the foreclosure action against Plaintiffs

despite Plaintiff Andrew Hahn's bankruptcy.

   39. As an experienced creditor and debt collector, Defendant Anselmo knew or should have

known the ramifications of collecting on a debt that was protected from collection by virtue of

Sections 362 and 1301 of the Bankruptcy Code.



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    40. Defendant Anselmo knew or should have known that the subject debt was uncollectable

in state court as a matter of law.

    41. It is apparent that Defendant Anselmo has no system in place to identify and cease

collection of debts stayed by the filing of a petition for bankruptcy.

    WHEREFORE, Plaintiffs respectfully requests that this Honorable Court:

    a. Declare that the practices complained of herein are unlawful and violate the
        aforementioned statute;
    b. Award the Plaintiffs statutory and actual damages, in an amount to be determined at trial,
        for the underlying FDCPA violations;
    c. Award the Plaintiffs costs and reasonable attorney fees as provided under 15 U.S.C.
        §1692k;and
    d. Award any other relief as this Honorable Court deems just and appropriate.


  COUNT II - DEFENDANT WELLS FARGO'S VIOLATIONS OF THE ILLINOIS CONSUMER FRAUD
                     AND DECEPTIVE BUSINESS PRACTICES ACT

   42. Plaintiffs restates and realleges all paragraphs of the Complaint above as though fully set

forth herein.

   43. Plaintiffs are considered "persons" and a "consumers" as defined in ICFA, 815 ILCS

505/(c) and (e) respectively.

   44. Defendant Wells Fargo is engaged in commerce in the State of Illinois with regard to

Plaintiffs, the subject loan, and the subject property. Wells Fargo specializes in lending,

servicing, and debt collection, which are activities within the stream of commerce and utilized in

their regular course of business.

   45. The Illinois Consumer Fraud and Deceptive Business Practices Act ("ICFA") states:

                Unfair methods of competition and unfair or deceptive acts or
                practices, including but not limited to the use or employment of

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               any deception, fraud, false pretense, false promise,
               misrepresentation or the concealment, suppression or omission of
               any material fact, with intent that others rely upon the
               concealment, suppression or omission of such material fact . . . in
               the conduct of any trade or commerce are hereby declared
               unlawful whether any person has in fact been misled, deceived or
               damaged thereby. 815 ILCS 505/2.

        a. Deception and Unfairness

    46. Wells Fargo violated 815 ILCS 505/2 by engaging in unfair and deceptive acts or

practices by using fraud, deception, and misrepresentations in its attempt to collect the subject

loan and against the subject property after Plaintiff Andrew Hahn filed a petition for bankruptcy

protection.

    47. Wells Fargo's continued prosecution of the state court foreclosure proceeding despite

multiple notices of Plaintiffs Andrew Hahn's bankruptcy filing represents the use of false

pretenses and deception to attempt to collect the subject loan, which was duly scheduled and

addressed in Plaintiff Andrew Hahn's bankruptcy and chapter 13 bankruptcy plan, because the

subject loan was not legally collectable in state court at the time order granting summary

judgment and order appointing selling officer was entered against the Plaintiffs.

    48. It was unfair and deceptive for Wells Fargo to seek to collect the subject loan from

Plaintiffs.

    49. It was also unfair and deceptive for Wells Fargo to assert that they could proceed with the

foreclosure proceedings even though Wells Fargo was notified of Plaintiff Andrew Hahn's

bankruptcy.

    50. Wells Fargo intended that the state court rely on its unfair and deceptive acts, and the

state court did in fact rely on Wells Fargo's deceptive and unfair acts in granting Wells Fargo's

motions and entering orders in the foreclosure lawsuit.
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    51. Wells Fargo's conduct in continuing to prosecute and obtaining orders in a stayed

foreclosure proceeding is immoral and against public policy.

    52. Upon infonnation and belief, attempting to collect debts in state court that are stayed

from collection by virtue of the United States Bankruptcy Code from Illinois consumers is an

unfair and deceptive business practice willfully employed by Wells Fargo and is done on a mass

scale.

    53. As pled above, Plaintiffs were substantially hanned by Wells Fargo's conduct.

    54. An award of punitive damages is appropriate because Wells Fargo's conduct described

above was outrageous, willful and wanton, showed a reckless disregard for the rights of Plaintiffs

and consumers generally.

    WHEREFORE, Plaintiffs respectfully requests that this Honorable Court enter judgment in

his favor as follows:

    a. declaring that the practices complained of herein are unlawful and violate the
         aforementioned statute;
    b. awarding Plaintiffs actual and punitive damages, in an amount to be detennined at trial,
         for the underlying violations;
    c. awarding Plaintiffs costs and reasonable attorney's fees; and
    d. awarding any other relief as this Honorable Court deems just and appropriate.



    Plaintiff demands trial by jury.


    Dated: June 30, 2016



                                              James J. Haller, Esq. ARDC#6226796
                                              Counsel for Plaintiff
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